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Attorneys for Plaintiffs

                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO

WESTERN WATERSHEDS PROJECT,
CENTER FOR BIOLOGICAL DIVERSITY,                    No. 1:17-cv-206-BLW
WILDEARTH GUARDIANS, and
PREDATOR DEFENSE,

                     Plaintiffs,
                                                    NOTICE OF WITHDRAWAL AS
                v.                                  COUNSEL
USDA APHIS WILDLIFE SERVICES,

                     Defendant.



       The undersigned counsel, Kristin F. Ruether, hereby gives notice that she is withdrawing

as counsel of record for Plaintiffs Western Watersheds Project (WWP) due to leaving

employment with WWP.

       Scott Lake continues to represent Plaintiff WWP in this matter.




                           NOTICE OF WITHDRAWAL AS COUNSEL—1
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DATED this 13th day of February, 2019              Respectfully submitted,

                                                   /s/ Kristin F. Ruether
                                                   Kristin F. Ruether (ISB #7914)

                                                   Attorney for Plaintiff




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of February, 2019, I filed the foregoing NOTICE OF
WITHDRAWAL AS COUNSEL electronically through the CM/ECF system, which caused the
following parties or counsel to be served by electronic means, as more fully reflected on the
Notice of Electronic Filing:

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                                                   /s/ Kristin F. Ruether
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                      NOTICE OF WITHDRAWAL AS COUNSEL—2
